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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

v.
Crim. No. 17-201-01 (ABJ)

PAUL J. MANAFORT, JR.,

Defendant.
DEFENDANT PAUL J. MANAFORT, JR.’S
MOTION TO DISMISS ONE OF TWO MULTIPLICITOUS COUNTS
Defendant Paul J. Manafort, Jr., by and through counsel, hereby moves the Court
pursuant to Fed. R. Crim. P. l2(b)(3)(B)(ii) to order the Office of Special Counsel (“OSC”
or “government”) to dismiss either Count F our or Count Five of the Superseding
lndictment because these two counts charge a single offense and, therefore, are
multiplicitous Courts in this jurisdiction have long recognized that such improper
charging decisions not only violate the Double Jeopardy Clause, but they improperly
prejudice a jury by suggesting that a defendant has committed not one, but several,
offenses
I- w
Count Four of the Superseding Indictment charges that “[o]n or about November
23, 2016 and February lO, 2017,” Mr. Manafort “knowingly and Willfully caused to be
made a false statement`of a material fact, and omitted a material fact necessary to make the
statements therein not misleading, in a document filed With and furnished to the Attorney
General under the provisions of FARA,” in violation of 22 U.S.C. Sections 612, 618(a)(2)

and 18 U.S.C. Section 2. (Superseding Indictment, para. 45). The Superseding lndictment

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specifically quotes and underscores the purported false statements that Were made in

November 23, 2016 and February 10, 2017 letters submitted by Mr. Manafort’s attorney

to the Department of Justice:

“[DMll’s efforts on behalf of the Party of Regions and Opposition Bloc did
not include meetings or outreach Within the U.S.”

“leeither [DMIl nor Messrs. Manafort or Gates had any agreement With
the [Centrel to provide services.”

“[DMI] did provide the [Centrel, at the request of members of the Party of
Regions, With a list of potential U.S.-based consultants_including
[Company A and Company B]_-for the {Centre]’s reference and further
consideration lThe Centrel then contracted directly With fCompany A and
Company Bl to provide services Within the United States for Which these
entities registered under the Lobbying Disclosure Act. ’

“Although Gates recalls interacting with [the Centrel’s consultants
regarding efforts in the Ukraine and Europe, neither Gates nor Mr. Manafort
recall meeting With or conducting outreach to U.S. government officials or
U.S. media outlets on behalf of the lthe Centrel, nor do they recall being
party to, arranging or facilitating any such communications. Rather, it is
the recollection and understanding of Messrs. Gates and Manafort that such
communications Would have been facilitated and conducted by the
[Centrel’s U.S. consultants, as directed by the lCentre], pursuant to the

agreement reached between those parties ( to Which [DMH Was not a party).”

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¢ “[Al search has been conducted for correspondence containing additional
information related to the matters described in lthe government’sl Letters.
However, as a result of [DMl’sl Email Retention Policy, which does not
retain communications beyond thirty days, the search has returned no
responsive communications.”
Ia’. (emphasis in original).

Count Five of the Superseding Indictment charges that “[o]n or about November
23, 2016 and February 10, 2017,” Mr. Manafort, “in a matter within the jurisdiction of the
executive branch of the Goyernment of the United States . . . knowingly and willfully did
cause another: to falsify, conceal, and cover up by a scheme and device a material fact; to
make a materially false, fictitious, and fraudulent statement and representation; and to
make and use a false writing and document knowing the same to contain a materially false,
fictitious, and fraudulent statement,” in violation of 18 U.S.C. Sections 1001 and 2.
(Superseding Indictment, para. 47).

The alleged false statements in Count Five are exactly the same statements,
contained in exactly the same documents, made to exactly the same people, that the
government has charged in Count Four. In fact, the OSC specifically identifies them as
such (“to wit, the statements in the November 23, 2016, and February 10, 2017,
submissions to the Department of Justice quoted in paragraph 45”). [d.

Furthermore, the Superseding Indictment contains no allegations that there was a
scheme or device employed by Mr. Manafort, nor that a false writing or document was
utilized in making these purported false statements Rather, both Counts Four and Five of

the Superseding Indictment only refer to, and focus solely upon, the alleged false

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statements that are contained in two letters submitted by Mr. Manafort’s attorney to the
Justice Department. (Superseding Indictment, para. 45, 47).

Finally, the Attorney General is obviously the individual in charge of the U.S.
Department of Justice. The U.S. Department of Justice and its components are, without
question, executive branch entities

II. DISCUSSION

A. A Multiplicitous Indictment Violates the Double Jeopardy Clause

Counts Four and Five charge the same offense in two separate counts, rendering
them multiplicitous A multiplicitous indictment violates the Double Jeopardy Clause of
the Fifth Amendment:

When an indictment charges the same offense in more than one count, it

often creates a problem known as multiplicity because the Double Jeopardy

Clause protects not only against a second prosecution for the same offense

after acquittal or conviction, but also against multiple punishments for the

same offense.

United Stales v. Mahdi, 598 F.3d 883, 887 (D.C. Cir. 2010) (internal citations omitted).

Count Four, which charges Mr. Manafort with making false statements in a

document furnished to the Attorney General under the Foreign Agents Registration Act

(“FARA”) in violation of 22 U.S.C. § 618(a)(2), is a “necessarily included offense”1 of

 

l The terms “lesser included offense” and “parent offense” are sometimes used by courts in this context.
“Lesser included offense” is often used to connote a less severe penalty than that of the “parent offense.”
I-Iere, the two statutes at issue carry the same five-year maximum sentence More importantly, the relative
severity of the penalties is irrelevant to determining whether one crime is a “1esser included offense” of
another for double jeopardy purposes See, e.g., United States v. Ha)'ley, 990 F.2d 1340, 1343 (D.C. Cir.
1993) (rejecting the argument that the lesser included offense must carry a lesser penalty). For this reason7
some commentators use the more precise “necessarily included offense,” as does the Supreme Court in
Schmuck v. United States, 489 U.S. 705, 716 (1989). See James A. Shellenberger and James A. Strazzella,
The Lesser Included O]j’ense Doctrine and The Cor)stitutl`on.' The Development of Due Process and Double
Jeopa)'dy Remea'l`es, 79 Marquette Law Review 1, 9-10 n. 15 (1995). This motion uses the Supreme Court’s
more recent and precise terminology contained in Schmuck.

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Count Five, which charges Mr. Manafort with making purported false statements in a
matter within the jurisdiction of the executive branch in violation of 18 U.S.C. § 1001.
Because such offenses as alleged are the “same offense” under the Double Jeopardy
Clause, and because that clause bars multiple punishments for the same offense, the
government is prohibited from prosecuting Mr. Manafort for both counts

The Fifth Amendment’s Double Jeopardy Clause, the foundation for the concept of
multiplicity, provides in part, “nor shall any person be subject for the same offence to be
twice put in jeopardy of life or limb. . . .” U.S. CONST. AMEND. V. Two counts in an
indictment constitute the same offense if they “cannot survive the ‘same elements’ test” set
forth in Blockburger v. United States, 284 U.S. 299, 304 (1932). United States v. Dz`xon,
509 U.S. 688, 696 (1993). More specifically,

[t]he same elements test, sometimes referred to as the “Blockburger” test,

inquires whether each offense contains an element not contained in the

other; if not, they are the “same offence” and double jeopardy bars

additional punishment and successive prosecution
Id. A corollary to this is that “prosecution for a greater offense . . . bars prosecution for a
lesser included offense. . . .” Id. at 705.2

Count Four, making false statements in a document furnished to the Attorney
General under the Foreign Agents Registration Act (“FARA”) in violation of 22 U.S.C. §

618(a)(2), is a necessarily included offense of Count Five, making false statements in a

matter within the jurisdiction of the executive branch in violation of 18 U.S.C. § 1001,

 

2 It should be noted that there is one circumstance in which the Blockburger test is not the final arbiter;
namely, when there is a plainly expressed contrary view on the part of Congress and the legislative intent is
clear from the face of the statute or the legislative history. See Maha’i, 598 F.3d at 888. For example,
Congress plainly “intended separate punishments for the underlying substantive predicates and for the
[Continuing Criminal Enterprise] offense.” Id. at 889. Here, there is no indication that Congress intended
separate punishments for the same alleged conduct

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because establishing false statements to the Attorney General under FARA necessarily
establishes false statements to the executive branch as well. See Brown v. th`o, 432 U.S.
161, 167 (1977) (“[t]he prosecutor who has established auto theft necessarily has
established joyriding as well.”).

As is invariably true of a greater and lesser included offense, the lesser

offense . . . requires no proof beyond that which is required for conviction

of the greater. . . . The greater offense is therefore, by definition, the “same”

for purposes of double jeopardy as any lesser offense included in it.
Ia'. at 168.

In Blockburger’s precise terms, to be separate offenses, each offense must contain
an element not contained in the other. Dixon, 509 U.S. at 696 (citing Blockburger, 284 U.S.
at 304). As alleged in the Superseding Indictment, the offenses at issue are the same
because making a false statement to the executive branch requires proof of no elements

beyond those required to prove making a false FARA statement to the Attorney General.

The elements of the two charges, as alleged, are as follows:

Making a False FARA Statement (22 Making a False Statement to the
U.S.C. ~ 618 a) 2 ) Executive Branch (18 U.S.C. ~ 1001)

1. The defendant knowinl and willfull 1. The defendant knowin_l and willfull
2. made a false statement 2. made a false statement

3. that was material 3. that was material

4. in any registration statement or other 4. in a matter within the jurisdiction of the
document for submission to the Attorney executive branch
General under FARA

 

In other words, in any prosecution in which the Goyernment proves the elements
of making a false FARA statement in a submission to the Attorney General, the
Goyernment will necessarily have proven the elements of making a false statement in a

matter within the jurisdiction of the executive branch. Without question, the Attorney

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General, and the U.S. Department of Justice and its components which he or she operates
and controls, are part of the executive branch.

lt makes no difference that there are various means of violating the two statutes3
The Supreme Court has made clear that the different means of violating the two statutes
need not be identical for the two counts to be the same offense under the same elements
test. See, e.g., United States v. Dixon, 509 U.S. 688, 699 (1993) (holding that contempt of
court for possessing cocaine with intent to distribute in violation of a court order, and
possession of cocaine with intent to distribute, are the same offense because the “drug
offense did not include any element not contained in his previous contempt offense . . .”);
Illz'noz's v. Vz'tale, 447 U.S. 410, 419-20 (1980) (holding that if the state relies on a driver’s
careless failure to slow his automobile to prove manslaughter by automobile, the state
cannot separately prosecute the driver for the offense of careless failure to slow his
automobile); Harris v. Oklahoma, 433 U.S. 682, 682 (1977) (“When, as here, conviction
of a greater crime, [felony] murder, cannot be had without conviction of the lesser crime,
robbery with firearms, the Double Jeopardy Clause bars prosecution for the lesser crime,”
in spite of there being numerous felonies other than robbery that would give rise to felony
murder).

In this case, Counts Four and Five charge Mr. Manafort with violating Section

681(a)(2) and Section 1001 by the same means; namely, by making false statements and

 

3 A violation of Section 618(a)(2) may occur if one willfully makes a false statement of a material fact;
willfully omits any material fact required to be stated [in a registration statement or other document]; or
willfully omits a material fact or a copy of a material document necessary to make the statements [in a
registration statement or other document] not misleading 22 U.S.C. § 618(a)(2). One may violate Section
1001 by various means, including concealing a material fact, making a false statement or representation and
making or using a false writing or document See, e.g., United States v. Stewart, 433 F.3d 273, 319 (2d Cir.
2006).

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representations to government officials (Superseding Indictment, para. 45, 47). lndeed,
the purportedly false statements and representations are identical in both charges The
original Indictment and the Superseding Indictment quote precisely the same statements
contained in the precisely the same documents made to precisely the same people, and the
elements of proof are the same. Id.

For these reasons, Counts Four and Five charge the same offense and violate the
Double Jeopardy Clause.

B. A Multiplicitous Indictment Improperly Prejudices the Defendant
Before the Jury

Multiplicity presents not only the risk that a defendant may receive multiple
punishments for one offense, but also the risk that the jury will view the defendant as
having committed several crimes instead of just one. In the District of Columbia, federal
courts have repeatedly explained that “multiplicitous charges improperly prejudice a jury
by suggesting that a defendant has committed not one but several crimes.” United States v.
M0rr0w, 102 F. Supp. 3d 232, 246 (D.D.C. 2015); see also United States v, Brown, 503 F.
Supp. 2d 217 (D.D.C. 2007) (same); United States v. Bowyer, 985 F. Supp. 153, 155
(D.D.C. 1997) (same); United States v, Phillips, 962 F. Supp. 200, 202 (D.D.C. 1997)
(same, adding further that multiplicitous indictments can lead jurors to “[c]ompromise
verdicts or assumptions that, with so many charges pending the defendant must be guilty
on at least some of them, pos[ing] significant threats to the proper functioning of the jury
system.”)', United States v. Clarridge, 811 F. Supp. 697, 702 (D.D.C. 1992) (same, adding
further that “[o]nce such a message is conveyed to the jury, the risk increases that the jury

will be diverted from a careful analysis of the conduct at issue”). Other federal courts have

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identified the same issue See, e.g., United States v. Langfora’, 946 F.2d 798, 802 (11th
Cir. 1991); United States v. Carter, 576 F.2d 1061, 1064 (3d Cir. 1978).

In Phillz`ps, supra, the government contended that the court could remedy the
multiplicitous indictment by merging the offenses at sentencing th'llz'ps, 962 F. Supp. at
202. The court held that while merger of the offenses at sentencing addresses the risk of
receiving multiple punishments for a single offense, it does nothing to remedy the
“significant threats to the proper functioning of the jury system” that a multiplicitous
indictment poses Ia'_ Nor do limiting instructions to the jury suffice because there is “no
justification for increasing the possibility of prejudice against the defendant by letting
multiplicitous counts go to the jury in the first place.” Id.

Simply stated, the jury system relies on jurors to evaluate each charge against a
defendant independently of the other charges Jurors, however, are subject to the
temptation to view multiple counts as indicative of multiple crimes Worse still, multiple
counts can influence jurors to “assum[e] that, with so many charges pending the defendant
must be guilty on at least some of them.” Id. This is a pernicious assumption; it prevents
a reasoned analysis of the facts and severely undermines a bedrock principle of the U.S.
justice system; i,e., the presumption of innocence afforded to each and every defendant in
a criminal case. For this reason, the federal courts in the District of Columbia have been
wary of and prevented the government from presenting multiple counts of the same offense

to the jury.

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WHEREFORE, Defendant Manafort respectfully moves the Court to order the

foice of Special Counsel to choose either Count Four or Count Five and dismiss the other

on the ground that they have charged a single offense in multiple counts

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Respectfully submitted,

 

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